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United States District Court

AO 91 (Rev. 08/09) Criminal Complaint Southern District Of Texas

UNITED STATES DISTRICT COURT MAR 20 2019 -

for the

Southern District of Texas

United States.of America
Vv.
Pedro Sebastian ARREOLA, YOB: 1996
Jose Adrian ARREOLA, YOB: 2000
United States Citizens

Case No. M-1 0 S] -M

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Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of March 19, 2019 in the county of Hidalgo in the
Southern District of | Texas , the defendant(s) violated:
Code Section — ' Offense Description

Defendants did knowingly and intentionally import into-the United States from
' the United Mexican States approximately 35.68 kilograms of
21 USC 952 methamphetamine, a Schedule It controlled substance

This criminal complaint is based on these facts:

Before the United States Magistrate Judge, Southern District of Texas, |, Christina Bergeron Flores, Special Agent,
United States Immigration and Customs Enforcement, being duly sworn, depose and say the following:

See Attachment A

i Continued on the attached sheet.

David J. Bradley, Clerk he

 

: =" Complamants signe
Approved by Any L. Gretenbaunw. omptat ignature
. Christina Bergeron Flores, HSI Special Agent
Printed name and title

Sworn to before me and signed in my presence.

Date: 03/20/2019 a a

 

 

Zink. Judge's signature
City and state: . _McAllen, Texas J. Sco Hacker, U.S. Magistrate Judge

(. Printed name and title -
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_ ATTACHMENT A

On March 19, 2019, U.S. Immigration and Customs Enforcement (ICE), Homeland
Security Investigations (HSI) in McAllen, Texas received a request for investigative
assistance from the U.S. Customs and Border Protection/Office of Field Operations
(CBP/OFO) at the Donna Port of Entry (POE) in Donna, Texas. Customs and Border
Protection Officers (CBPOs) detained Pedro Sebastian ARREOLA (hereafter Pedro :
ARREOLA) and Jose Adrian ARREOLA (hereafter Jose ARREOLA) after
discovering 39 packages containing a white crystalized substance, and weighing a
total of 35.68 kilograms (kg), concealed within non-factory compartments in the spare
tire of the vehicle Pedro ARREOLA was driving when applying for entry into the
US.

At: primary -inspection, Pedro ARREOLA stated to CBPOs that he and Jose
ARREOLA were traveling into the U.S. to obtain identification documents. CBPO
referred the vehicle for a CBP Land Border inspection. During secondary inspection,
a non-intrusive X-ray inspection (Z-portal) of the vehicle was conducted and
discovered anomalies located in the spare tire area of the vehicle. CBPOs located a
non-factory attachment under the vehicle. CBPOs recovered 39 packages of white
crystalized substance concealed within the spare tire of the vehicle which field-tested
‘positive for properties of methamphetamine.

HSI Special Agents and a HSI Task Force Officer (TFO) interviewed Pedro
ARREOLA and Jose ARREOLA, post-Miranda Warning, regarding the purpose and
details of their travels into the U.S. from Mexico. Pedro ARREOLA stated he and |
Jose ARREOLA were traveling into the U.S. to McAllen, Texas and then to Atlanta,
Georgia to obtain obtain vehicle parts to be transported to Mexico at the direction of
an unidentified individual. Pedro ARREOLA stated he and Jose ARREOLA have not
had employment for a few months. Pedro ARREOLA and Jose ARREOLA made
further statements inconsistent of each other and of communication recovered within
cellular telephones found in their ‘possessions. .

During interview of Pedro ARREOLA, he stated the vehicle he was driving belongs
to Jose ARREOLA. Pedro ARREOLA stated he was to be compensated by Jose
ARREOLA $500.00 to drive Jose ARREOLA to Atlanta, Georgia as Jose ARREOLA
_. does not have a driver’s license valid for U.S. travel. Pedro ARREOLA stated
payment would be received by Jose ARREOLA by wire transfer. .

During interview of Jose ARREOLA, he stated he and Pedro ARREOLA were
traveling to the McAllen area. Once questioned by agents regarding their travel
itinerary, Jose ARREOLA stated he and Pedro ARREOLA were traveling to Atlanta,
Georgia. Jose ARREOLA stated the vehicle he was driving was recently purchased
for Jose ARREOLA by unidentified individuals who hired Jose ARREOLA to
transport vehicle parts from Atlanta, Georgia to Mexico. Jose ARREOLA stated the

vehicle was registered in his name by unidentified individuals. Jose ARREOLA
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‘stated he and his brother were to be paid approximately $3,500.00 as compensation
_ and travel costs for their travel to Atlanta, Georgia. Jose ARREOLA initially stated
_ he had exclusive access and control of the vehicle registered in his name. Jose
ARREOLA later recanted this statement explaining that one of the individuals, who
hired Jose ARREOLA to travel to Atlanta, Georgia, took possession of the vehicle
during the afternoon of March 18, 2019, and returned the vehicle to Jose ARREOLA
' during the morning of March 19, 2019. Jose ARREOLA stated the unidentified
individual stated that he told Jose ARREOLA he was taking the vehicle to acquire
fuel for Jose ARREOLA’s trip; however, Jose ARREOLA stated the vehicle was
returned to him low on levels of fuel. Agents questioned Jose ARREOLA regarding |
Jose ARREOLA providing contrary statements, to which Jose ARREOLA explained
that he was concerned that agents would find fault with Jose ARREOLA regarding
issue identified with the vehicle Pedro ARREOLA was driving.

A review of the cellular telephone found to be in Jose ARREOLA’s possession.
revealed communication between Jose ARREOLA and an unidentified individual
providing instruction for Jose ARREOLA’s travel on March 19, 2019. This
communication revealed direction by unknown individual on March 19, 2019,
_ specifically to inspect the vehicle. Communication between Jose and Pedro
-ARREOLA indicates that currency was to be wired into Pedro ARREOLA’s account
by wire transfer contrary to both Jose ARREOLA and Pedro ARREOLA’s
statements.

Based on the telephone communications, the conflicting statements of the defendants,
and the manner in which the narcotics were concealed, agents believe that the
defendants knowingly and intentionally imported the methamphetamine into the
United States from the United Mexican States.
